Case 4:91-cr-00176-LGW-CLR Document 1486 Filed 06/03/15 Page 1 of 2




                  IN THE I'NITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


 UNITED     STATES OF AIVIERICA

                                                     cR 491-176

 LEVON BAZEMORE




                                     ORDER




       Defendan!       Levon      Bazemore's        motion    to   supplement   his

 motion     Eo reduce sentence under 18 U.S.C.                S 3582(c) (2) with

 exhibits     (doc.   no.    1485) is   GRANTED. The motion           and attached

 exhibits     are par!      of   the record    of    the   case and will   be duly

 considered.
                                          fl
       ORDER     this -fu&^O
           ENTERED                                  of ,fune 201-s, at Augusta,

 ceorgia .
     Case 4:91-cr-00176-LGW-CLR Document 1486 Filed 06/03/15 Page 2 of 2
                               Document1485 Filed06/01/15 Page1 of 6
       Case4:91-cr-00176-DHB-GRS


                               I N T H E U N I T E D S T A T E SD I S T R I C T C O U R T
                              F O R T H E S O U T H E RD
                                                       NI S T R I C T O F G E O R G I A
                                                                                                  FILED
                                                                                             U.S.
                                                                                                OISTRICT
                                                                                                      COURT
                                             S A V A N N AD
                                                          HI V I S I O N                       SAVANNAH
                                                                                                      DIV.
                                                                                                 JUt{-tl0tr /
LEVQNBAZEMORE,

                       Petltloner,
                                                                                                 6.D*rf
                                                                                             cteax
                                                                                               s0.Dlst0FGA
vs.                                                                c R 4 9 l- l 7 6

U NI T E D S T A T E SO F A M E R I C A ,

                       R6soondenL.




                       CERTIFIED          RESIDENTIAL WIRING                     TECHN]ClAN


                       T O A S S I S T P S Y C H O L O GDYE P A R T M E NWTI T H F E D E R A L




          Comes now the                 above named Petltloner               who proceeds pro         se,

hereby          respectfui ly            moves Lhls            Honorable      Court     to    permlL the

pendlng tltl€                 l8   U.5.C.      S 3582(c)(2)         m o ol o n t o    be supplemenLed

wlth       Baz€morets recently                 recelved certlf            lcat,lon as a Resldentl6l

Wlrlng Technlclan (ExhlblC A),                          coupled wlt,h ghe fact,               Bazemore ls

currently              enrolled        and operatlng          ln the capaclty         of a peer/mentor

In      ihe       Skl'l ls         Program whlch           operates         under      the     psychology

deparLmenghere at FCCColeman.

          It      ls       lmporcant io        noLe that          prlor     to     Bazemorers medlcal
t,ransfer          from       FCI Jesup to             FCC Coleman, Bazemore obt,alned hls

certlflcat             lon   is    a    technlclan        In    Heatlng,         Ventl laulon    and Alr

C o n d l t ,l o n l n g     (rtHVACrr) from           Altamaha       Technlcal         Col lege.    (See

exhlblt,         attached          to   Exhlblt        A of     exhlblt     package ln supporC of

p e n dI n s I 1 5 8 2 ( c ) ( 2 ) m o t l o n ) ) .
